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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                           Criminal No. 19-101 (SRN/KMM)

 UNITED STATES OF AMERICA,                     )
                                               )
                      Plaintiff,               )   ORDER AUTHORIZING THE
                                               )   GOVERNMENT TO OBTAIN “MAJOR
               v.                              )   CASE” FINGERPRINT EXEMPLARS
                                               )   FROM THE DEFENDANT
 AARON RHY BROUSSARD,                          )
                                               )
                      Defendant.               )

       This matter is before the Court on the government’s motion for an order authorizing

the government to obtain “major case” fingerprint exemplars from the defendant. The

United States has shown that the fingerprints are necessary for trial, and are not overly

burdensome or intrusive to the defendant.

       NOW, THEREFORE, IT IS HEREBY ORDERED that the government’s motion is

GRANTED, and that United States Postal Inspector Sarah Wicker, in conjunction with her

law enforcement designees, is authorized to obtain from the defendant a full set of

fingerprints, including a ten-print card of the entirety of each finger including rolled sides

and tips and the rolled edges of the palms from both hands, for comparative purposes.

Dated: October ____, 2021


                                           ______________________________
                                           Susan Richard Nelson
                                           United States District Judge
